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                        Exhibit M
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 1                   IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF ILLINOIS
 2                             EASTERN DIVISION
 3
 4   MARCELINO CENTENO, et al.,                )   Nos. 17   C   5233
                                               )        17   C   5695
 5                      Plaintiffs,            )        17   C   5897
                                               )        17   C   6098
 6                vs.                          )        17   C   6676
                                               )
 7   LVNV FUNDING, LLC, et al.,                )   Chicago, Illinois
                                               )   February 14, 2018
 8                      Defendants.            )   9:45 a.m.
 9
                          TRANSCRIPT OF PROCEEDINGS
10                      BEFORE THE HON. SARA L. ELLIS
11
     APPEARANCES:
12
     For the Plaintiffs:     MS. CELETHA CHATMAN
13                           Community Lawyers Group, Ltd.,
                             73 West Monroe Street, Suite 514,
14                           Chicago, Illinois 60603
15
     For the Defendants:     MR. MANUEL H. NEWBURGER
16                           Barron & Newburger PC,
                             7320 North Mopac Expressway, Suite 400,
17                           Austin, Texas 78731
18                            MS. CORINNE HEGGIE
              `               Scharf Banks Marmor LLC,
19                            333 West Wacker Drive, Suite 450,
                              Chicago, Illinois 60606
20
21
22
23                            PATRICK J. MULLEN
                           Official Court Reporter
24                      United States District Court
                    219 South Dearborn Street, Room 1412
25                         Chicago, Illinois 60604
                              (312) 435-5565
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            1            THE CLERK: 2017 C 5233, Centeno versus LVNV Funding;
            2   2017 C 5693, Akins versus LVNV; 2017 C 5897, Lemke versus LVNV;
            3   2017 C 6098, Johnson versus LVNV; 2017 C 6676, Plewa versus
            4   LVNV Funding.
10:47:49    5            MS. CHATMAN: Good morning, Your Honor. Celetha
            6   Chatman on behalf of plaintiffs.
            7            MS. HEGGIE: Good morning, Your Honor. I'm Corinne
            8   Heggie on behalf of LVNV Funding and Resurgent Capital
            9   Services. Also appearing by phone will be Mr. Newburger.
10:48:12   10            THE CLERK: One moment.
           11       (Brief pause.)
           12            MR. NEWBURGER: (Via telephone) Good morning. This is
           13   Manuel Newburger.
           14            THE CLERK: Good morning, counsel. Your are now
10:48:21   15   before Judge Ellis. Please state the party that you represent.
           16            MR. NEWBURGER: This is Manual Newburger. I represent
           17   defendants LVNV and Resurgent.
           18            THE CLERK: Thank you.
           19            THE COURT: All right. So we are here on the motion
10:48:36   20   to compel the deposition of plaintiffs' counsel that I entered
           21   and continued. Before we get to that, with regard to the other
           22   plaintiffs, has everybody been deposed now?
           23            MR. NEWBURGER: All plaintiffs except Ms. Plewa, Your
           24   Honor.
10:48:56   25            THE COURT: All right. And what's the status with
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            1   requested any other discovery.
            2            MS. CHATMAN: That's correct.
            3            THE COURT: All right. So I'm going to extend fact
            4   discovery through March 9th.
10:59:30    5            Now turning to the deposition of Ms. Chatman, first of
            6   all, Mr. Newburger, have you -- did you send a copy of the
            7   letter that you sent me to Ms. Chatman?
            8            MR. NEWBURGER: I did, Your Honor.
            9            THE COURT: Okay. So, Ms. Chatman, you received a
10:59:51   10   copy of that letter?
           11            MS. CHATMAN: Which? Just so I'm clear, Your Honor,
           12   which? I received a lot of documentation. I want to --
           13            THE COURT: So it is a letter dated February 7th that
           14   was sent to me with a copy of the depositions.
11:00:09   15            MR. NEWBURGER: Actually, I think Ms. Heggie's office
           16   may actually have sent that, Your Honor.
           17            MS. HEGGIE: Your Honor, yes, my office sent it in the
           18   mail to Ms. Chatman and Mr. Finko because Ms. Chatman doesn't
           19   want to receive things via e-mail in the case. We don't have
11:00:25   20   consent for electronic service other than what's filed through
           21   ECF.
           22            THE COURT: Okay.
           23            MS. CHATMAN: Well, I haven't had a chance to look at
           24   it, Your Honor.
11:00:33   25            THE COURT: I would have hoped that you would have
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            1   looked at it, Ms. Chatman, because this letter levies some
            2   serious ethical allegations in the letter --
            3              MS. CHATMAN: Okay.
            4              THE COURT: -- that I wanted to address, and I was
11:00:50    5   going to give you the opportunity to respond.
            6              MS. CHATMAN: Okay, Your Honor. Can you give me
            7   additional time because I haven't had a chance to look at this
            8   letter?
            9              THE COURT: So one of the reasons that defendants
11:01:07   10   believe they should be entitled to depose you is that you were
           11   contacting LVNV Funding and Resurgent knowing that they were
           12   represented, at a time that you knew they were represented by
           13   counsel.
           14              MS. CHATMAN: Like I said, Your Honor, I haven't had a
11:01:32   15   chance to review this letter. I do not know what they're
           16   referring to.
           17              THE CLERK: (Handing document to counsel.)
           18        (Brief pause.)
           19              THE COURT: All right. I'll take the letter back.
11:05:11   20              MS. CHATMAN: Your Honor, I would say that when we
           21   send out these letters -- I'm sorry -- usually in my experience
           22   when we send out these letters, it's usually more efficient to
           23   send them to the direct person who marks the accounts as
           24   disputed, Your Honor. So I don't think we --
11:05:38   25              THE COURT: So my question to you is: Were you aware
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            1   that -- at least with regard to Ms. Plewa and Ms. Akins, when
            2   you sent those letters, were you aware that LVNV was
            3   represented by counsel?
            4              MS. CHATMAN: Represented by counsel? Your Honor,
11:06:00    5   they were suing Ms. Akins and Ms. Plewa in state court.
            6              THE COURT: Right.
            7              MS. CHATMAN: I don't think that's the same.
            8   Honestly, I don't think that's the same thing.
            9              THE COURT: The same thing? It's over the same debt,
11:06:15   10   right?
           11              MS. CHATMAN: So it's --
           12              THE COURT: It was over the same debt, is that
           13   correct?
           14              MS. CHATMAN: It is over the same debt.
11:06:23   15              THE COURT: Okay. Were you aware that both of your
           16   clients at the time you sent the letter were being sued in
           17   state court over this debt by LVNV?
           18              MS. CHATMAN: I knew they were being sued, Your Honor.
           19   I guess, Your Honor, this is -- we've never gotten anything
11:06:53   20   from LVNV saying that they want us to send letters directly to
           21   their lawyers, to their lawyer's law firms, Your Honor. That's
           22   usually not how it works.
           23              THE COURT: Well, most of the time when somebody is
           24   disputing a debt and they're coming to you for assistance,
11:07:21   25   they're not being sued in state court over the same debt,
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 1            MS. HEGGIE: Okay. Thank you, Your Honor.
 2            THE COURT: Okay. Thanks.
 3       (Proceedings concluded.)
 4                          C E R T I F I C A T E
 5            I, Patrick J. Mullen, do hereby certify that the
 6   foregoing is a complete, true, and accurate transcript of the
 7   proceedings had in the above-entitled case before the Honorable
 8   SARA L. ELLIS, one of the judges of said Court, at Chicago,
 9   Illinois, on February 14, 2018.
10
11                                 /s/ Patrick J. Mullen
                                   Official Court Reporter
12                                 United States District Court
                                   Northern District of Illinois
13                                 Eastern Division
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